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 7                       IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE DISTRICT OF ARIZONA
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10   Lupita Lopez, et al.,                              No. CV-12-00414-TUC-BPV
11                           Plaintiffs,                ORDER
12   v.
13   Mauisun Computer Systems Incorporated,
14                           Defendant.
15
16          Pending before the Court is Plaintiffs Cornejo’s and Sierra’s motion to compel
17   discovery. (Doc. 137). Defendant has filed a response in opposition (Doc. 139), and
18   Plaintiff Cornejo has filed a reply (Doc. 140).
19          Also pending before the Court is Defendant’s motion to quash or modify the
20   subpoena issued to non-party Thomas Rooney. (Doc. 138).               Plaintiffs have filed
21   responses in opposition (Docs. 141, 142), and Defendant has filed a reply (Doc. 143).
22   The Court will not grant the Plaintiff's request for oral argument because the parties
23   submitted memoranda thoroughly discussing the law and evidence in support of their
24   positions, and oral argument would not have aided the Court's decisional process. See
25   Mahon v. Credit Bur. of Placer County, Inc., 171 F.3d 1197, 1200 (9th Cir. 1999)
26   (explaining that if the parties provided the district court with complete memoranda of the
27   law and evidence in support of their positions, ordinarily oral argument would not be
28   required).
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 1          Plaintiffs seek responses to requests for production, Requests 7, 8, and 9,
 2   requesting financial information for the years 2010 through 2014, specifically income tax
 3   returns, financial reports and documents, and balance sheets and profit and loss
 4   statements. Plaintiffs assert that they have the right to discover this financial information
 5   from Defendant without having to establish a prima facie case on the issue of punitive
 6   damages. Defendant opposes the motion to compel, arguing that Defendant’s wealth is
 7   not related to Plaintiff’s request for punitive damages, and, alternatively, if it is, then its
 8   wealth has been disclosed. The Court disagrees on both counts.
 9          A defendant's “financial information is relevant” where a plaintiff states a claim
10   for punitive damages. See EEOC v. Cal. Psych. Transitions, 258 F.R.D. 391, 394–95
11   (E.D.Cal. 2009) (citing City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 267 (1981)
12   (observing that evidence of a defendant's financial worth is traditionally admissible under
13   federal law to evaluate the amount of punitive damages that should be awarded)).
14   Although the Ninth Circuit has not established “the parameters of the dissemination of
15   financial information during discovery when punitive damages are alleged,” a majority of
16   federal courts do not require the plaintiff to demonstrate punitive damages will be
17   recovered “to discover information relating to the defendant's financial condition in
18   advance of trial.” Cal. Psych. Transitions, 258 F.R.D. at 394–95. Rather, “a majority of
19   federal courts permit discovery of financial information about the defendant without
20   requiring [the] plaintiff to establish a prima facie case on the issue of damages.” CEH,
21   Inc. v. FV Seafarer, 153 F.R.D. 491, 498, (D.R.I. 1994) (citations omitted). Because
22   “[t]he discovery of financial information [is] relevant to a punitive damages claim,” it is
23   permissible under the Federal Rules of Civil Procedure without a prima facie showing by
24   Plaintiff. Oakes v. Halvorsen Marine Ltd., 179 F.R.D. 281, 286 (C.D.Cal.1998).
25          Plaintiffs have alleged facts that, if true, could give rise to an award of punitive
26   damages. Defendant avowed that it has not prepared annual reports, profit and loss
27   statements, or balance sheets; neither has it undergone any audit (whether voluntary or
28   compelled) or applied for loans or other credit. That is, Defendant has none of the


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 1   information requested in Requests 8 or 9. Because of Defendant’s alleged lack of any
 2   financial records, Defendant’s federal income tax returns are all the more relevant.
 3   Defendant’s conclusory assertion that its wealth has been disclosed and thus financial
 4   information, specifically income tax returns, are not relevant to the question of punitive
 5   damages, is not supported by the record before the Court. Plaintiffs’ motion to compel is
 6   granted.
 7          Defendant further argues that Plaintiff’s subpoena requesting that an accountant
 8   produce federal and state tax records for Defendant and eleven entities incorporated by
 9   the owners of Defendant Mauisun Computer Systems, (“FreedomSmoke”), should be
10   quashed because the information sought is privileged, confidential information about
11   non-parties. The exhibits submitted with Plaintiff’s opposition demonstrate that
12   Defendant has been less than forthcoming with information about Defendant’s financial
13   status, and the non-party owners have referred repeatedly to Defendant Mauisun as
14   “doing business as FreedomSmoke”, and the Arizona Civil Rights Division included
15   FreedomSmoke in its correspondence, charges of discrimination, and in discovery.
16   Furthermore, non-party owner David Detloff directed Plaintiff to his accountant as the
17   best source to obtain financial information about his companies. However, the Court
18   finds that the tax records of the non-parties are outside the scope of what the Court should
19   order produced. The Court grants the motion to quash to the extent Defendant seeks to
20   quash the production of federal and state tax records for the eleven “FreedomSmoke”
21   entities. The motion is denied as to Plaintiffs’ request to seek production of federal and
22   state tax records for Defendant Mauisun.
23          Accordingly,
24          IT IS ORDERED Plaintiff’s Motion to Compel (Doc. 137) is GRANTED.
25          IT IS FURTHER ORDERED Defendant’s Motion to Quash or Modify Subpoena
26   (Doc. 138) is GRANTED IN PART, as to the production of federal and state tax records
27   for the “FreedomSmoke” entitites, and DENIED IN PART as to the production of federal
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 1   and state tax records for Defendant Mauisun.
 2          IT IS FURTHER ORDERED that the information obtained from the subpoena
 3   cannot be disseminated and must be destroyed following the litigation. Defendant may
 4   proffer a proposed protective order within five (5) days of the filing date of this Order.
 5                 Dated this 6th day of May, 2015.
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